                                                                                                                                               Print Form
               Case: 1:17-md-02804-DAP Doc #: 4134 Filed: 11/09/21 1 of 1. PageID #: 553727
                                                          MINUTESOFPROCEEDINGS

                                                                 Dan A. Polster
                                                      HONORABLE___________________

                                                       UNITEDSTATESDISTRICTCOURT

                                                        NORTHERNDISTRICTOFOHIO

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           In Re: National Prescription Opiate Litigation               Date:1ϭ/9/21
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                                                                      CaseNo.: 1:17md2804
vs.                           CourtReporter:>ĂŶĐĞŽĂƌĚŵĂŶ
                                                                       ECRO:
                                                                        INTERPRETER:
CounselforPlaintiff: Mark Lanier, Peter Weinberger, Frank Gallucci, Rachel Lanier, Maria Fleming
                                    Graeme Bush, Eric Delinsky, Sasha Miller, Paul Haynes (CVS), Kaspar Stoffelmayr, Kate Swift,
CounselforDefendant:
                                     Brian Swanson (Walgreens),Tara Fumerton, John Majoris, TinaTabacchi (Walmart)
      CaseManagementConference                              TelephonicStatus/PretrialConference
      StatusConference                                        MotionHearing
      FinalPretrialConference                              x JuryTrial 
      SettlementConference                                    BenchTrial
      Hearing                                                  Other:____________________________

     VoirDirebegunandconcluded                   VoirDirebegunandcontinued                             
     Plaintiff(s)openingstatements                 Defendant(s)openingstatements                           
      Evidencebegan;continued                      Evidencecontinued                                            Evidenceconcluded
      Plaintiffscasebegun                          Plaintiffscasecontinued;notconcluded                       Concluded
      Defendantscasebegun                          Defendantscasecontinued;notconcluded                     x Concluded
    x Testimonytaken(seewitnesslist)                                                                        
      Plaintiff(s)rebuttal                          Defendant(s)surͲrebuttal                                 
      Plaintiff(s)finalargument                   Defendant(s)finalargument                              
      Chargetothejury                                                                                       
      JuryDeliberationsbegun                      Continued;notconcluded                                       ContinuedandConcluded
      Verdict                                                                                                   
    x ExhibitsLocated:______________
                          w/cnsl                       Exhibitsreturnedtocounsel                              
Trial/ProceedingsAdjourneduntil: 1ϭ/15/21Ăƚϵ͗ϬϬD
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Comments: Cont'd Defendants' witness 17 - Amy Stossel. All testimony concluded. Jury charge and closing arguments
            11/15/21 at 9:00 AM
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                                                                                          Robert Pitts

                                                                            CourtroomDeputyClerk


Time:_4͘ϱ hrs            
